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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
RCH:AXB/LAZ                                        610 Federal Plaza
F. #2022R01030                                     Central Islip, New York 11722


                                                   August 12, 2024

By ECF

The Honorable Joanna Seybert
United States District Judge
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

              Re:     United States v. George Anthony Devolder Santos
                      Criminal Docket No. 23-197 (S-2) (JS)

Dear Judge Seybert:

                The parties respectfully write in advance of the pre-trial conference scheduled
in this matter for August 13, 2024 at 10:30 a.m., to identify certain issues to address with the
Court at that time:

    Pretrial Deadlines: On July 24, 2024, the Court entered a pre-trial scheduling order, in
     which it, among other things, set a deadline for a joint proposed exhibit and witness list
     of August 26, 2024. Previously, on January 23, 2024, the Court adopted a pre-trial
     schedule requiring the parties to exchange exhibits and lists of witnesses by August 19,
     2024. See ECF Nos. 58, 59. The parties seek to confirm the date by which they must
     exchange exhibits and lists of witnesses.

       The government further notes that the Court’s schedule order requires the production
       materials pursuant to Federal Rule of Evidence 404(b) by August 19, 2024. By letter
       dated April 11, 2024, the government provided defense counsel with notice pursuant to
       Rule 404(b) of certain other acts; it has also produced materials related to these other
       acts during the course of satisfying its discovery obligations under Federal Rule of
       Criminal Procedure 16. The government seeks clarification from the Court as to
       whether any further steps are required to satisfy the Court’s scheduling order on this
       matter.

    Jury Selection and Commencement of Trial: Defense counsel has moved for the Court
     to administer a juror questionnaire to prospective jurors, which the government
     opposes. As such, the parties seek guidance from the Court on whether it plans to
     administer a questionnaire, as well as the process by which the Court anticipates
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         conducting jury selection more generally. Relatedly, because the length of jury
         selection is uncertain, the parties respectfully propose that the Court set a date for the
         commence of opening statements and presentation of the government’s case-in-chief
         of September 16, 2024. Because many of the government’s witnesses will be traveling
         to the courthouse from out of state, it will facilitate the efficiency of proceedings if the
         government can identify the date on which it should plan to begin presenting its case.
         The government respectfully suggests that jury selection is unlikely take more than one
         week. The defense also does not anticipate jury selection to take more than one week,
         particularly with the use of a questionnaire. However, the defense submits that
         thoroughness in selecting a fair and impartial jury should take precedence over adhering
         to a predetermined schedule.

       Trial Schedule: The government presently anticipates that its case-in-chief will take
        approximately three weeks to present to the jury, not including jury selection, and
        accounting for not holding trial on Fridays. As a result, trial may still be ongoing during
        the Jewish holiday Rosh Hashanah, which runs from the evening of October 2, 2024 to
        October 4, 2024. The parties wish to confirm whether the Court anticipates sitting
        during that time.

                                                      Respectfully submitted,

                                                      BREON PEACE
                                                      United States Attorney

                                               By:      /s/
                                                      Ryan C. Harris
                                                      Anthony Bagnuola
                                                      Laura Zuckerwise
                                                      Assistant U.S. Attorneys

                                                      COREY R. AMUNDSON
                                                      Chief, Public Integrity Section
                                                      U.S. Department of Justice

                                               By:      /s/
                                                      Jacob R. Steiner
                                                      John P. Taddei
                                                      Trial Attorneys

cc:      Defense Counsel (by ECF)
         Clerk of the Court (JS) (by ECF)




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